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                                         U.S. Department of Justice

                                                      United States Attorney
                                                      Southern District of New York
                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007



                                                      July 8, 2019

VIA ECF

The Honorable Henry Pitman
United States District Court
Southern District of New York
United States Courthouse
500 Pearl Street
New York, New York 10007

       Re:     United States v. Jeffrey Epstein, 19 Cr. 490 (RMB)

Dear Judge Pitman:

        The Government respectfully submits this letter in advance of the bail hearing scheduled
for July 8, 2019, in the above-captioned case. For the reasons set forth herein, the Court should
order that the defendant be detained pending trial; he cannot meet his burden of overcoming the
presumption that there is no combination of conditions that would reasonably assure his continued
appearance in this case or protect the safety of the community were he to be released.

         As set forth below, the charges in this case are exceptionally serious: the defendant is
alleged to be a serial sexual predator who preyed on dozens of minor girls over a period of years,
and he now faces a potentially massive prison sentence predicated on substantial and multifaceted
evidence of his guilt. In light of the strength of the Government’s evidence and the substantial
incarceratory term the defendant would face upon conviction, there is an extraordinary risk of
flight, particularly given the defendant’s exorbitant wealth, his ownership of and access to private
planes capable of international travel, and his significant international ties. Indeed, the arrest of
the defendant occurred when he arrived in the United States on his private jet after having returned
from a multi-week stay abroad.

        Finally, and as detailed herein, the Government has real concerns—grounded in past
experience with this defendant—that if allowed to remain out on bail, the defendant could attempt
to pressure and intimidate witnesses and potential witnesses in this case, including victims and
their families, and otherwise attempt to obstruct justice. As a result, he poses both an acute danger
to the community, including some of its most vulnerable members, and a significant risk of flight.
The defendant thus cannot overcome the statutory presumption that detention is appropriate in this
case, and the Court should order that he be detained pending trial.
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                                        BACKGROUND

       A. Overview

        On July 2, 2019, a federal grand jury in the Southern District of New York returned a sealed
indictment (the “Indictment”) charging the defendant with one count of sex trafficking of minors,
in violation of 18 U.S.C. § 1591, and one count of conspiracy to commit sex trafficking of minors,
in violation of 18 U.S.C. § 371.

        As charged by the grand jury, the facts underlying the charges in the Indictment arise from
a years-long scheme to sexually abuse underage girls. In particular, beginning in at least 2002, the
defendant enticed and recruited dozens of minor girls to engage in sex acts with him, for which he
paid the victims hundreds of dollars in cash.

        He undertook this activity in at least two different locations, including his mansion in
Manhattan, New York (the “New York Residence”) and his estate in Palm Beach, Florida (the
“Palm Beach Residence”). In both New York and Florida, the defendant perpetuated this abuse in
similar ways. Victims were initially recruited to provide “massages” to the defendant, which
would be performed nude or partially nude, would become increasingly sexual in nature, and
would typically include one or more sex acts, including groping and direct or indirect contact with
victims’ genitals. The defendant paid his victims hundreds of dollars in cash for each separate
encounter.

         Moreover, the defendant actively encouraged certain of his victims to recruit additional
girls to be similarly sexually abused. He incentivized his victims to become recruiters by paying
these victim-recruiters hundreds of dollars for each additional girl they brought to him. In this
fashion, the defendant created a vast network of underage victims for him to exploit, in locations
including New York and Palm Beach.

        The defendant’s victims were as young as 14 years old when he abused them. Many of his
victims were, for various reasons, often particularly vulnerable to exploitation. The defendant
intentionally sought out—and knew that he was abusing—minors. Indeed, in some instances, his
victims expressly told him they were underage before or during the period in which he abused
them.

       In creating and maintaining a network of minor victims whom he abused, the defendant
worked with others, including employees and associates who facilitated his exploitation of minors
by, among other things, contacting victims and scheduling their sexual encounters with the
defendant, both in New York and in Florida.

       B. The Defendant

       Jeffrey Epstein designed, financed, and perpetrated this scheme, both as its main participant
and through his direction of others, including certain of his employees, to further facilitate his
rampant abuse of underage girls.
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        As has been widely reported, the defendant is extraordinarily wealthy, and he owns and
maintains luxury properties and residences around the world, including in Manhattan, New York;
Palm Beach, Florida; Stanley, New Mexico; and Paris, France. Additionally, Epstein owns a
private island in the U.S. Virgin Islands which, as noted above, is believed to be his primary
residence in the United States. His mansion in Manhattan alone—a multi-story townhouse
reported to be one of the largest single residences in all of Manhattan, which previously housed a
school and which he owns through an LLC—has been valued at approximately $77 million.
Entities controlled by the defendant also own at least two private jets in active service, at least one
of which is capable of intercontinental travel.

       As described further below, the defendant possesses three active United States passports,
and his international connections and travels are extensive. For example, in addition to
maintaining a residence in Paris, France, as described above, in the past 18 months alone, the
defendant has traveled abroad, via private jet, either into or out of the country on approximately
more than 20 occasions.

          C. The Prior Florida Investigation

        In or about 2005, the defendant was investigated by local police in Palm Beach, Florida, in
connection with allegations that he had committed similar sex offenses against minor girls. The
investigation ultimately also involved federal authorities, namely the U.S. Attorney’s Office for
the Southern District of Florida (“SDFL”) and the FBI’s Miami Office, and included interviews
with victims based in the Palm Beach area, including some of the alleged victims relevant to Count
One of the instant Indictment.1

        In fall 2007, the defendant entered into a non-prosecution agreement with the SDFL in
connection with the conduct at issue in that investigation, which the non-prosecution agreement
identified as including investigations into the defendant’s abuse of minor girls in the Palm Beach
area. The Southern District of New York was not a signatory to that agreement, and the defendant
was never charged federally.2 In June 2008, the defendant pled guilty in state court to one count
of procuring a person under the age of 18 for prostitution, a felony, and one count of solicitation
of prostitution, a felony. As a result, the defendant was designated as a sex offender with
registration requirements under the national Sex Offender Registration and Notification Act.




1
  The non-prosecution agreement, further discussed below, was entered into at the conclusion of
the SDFL investigation and did not purport to cover any victims outside of the State of Florida.
As noted above, the instant Indictment expressly alleges the existence of dozens of victims who
were abused in this District in addition to dozens of victims who were abused in Florida.
2
 While beyond the scope of a bail hearing, as discussed further below, it is well-established in the
Second Circuit that absent an express provision to the contrary in the agreement, one District is
not bound by the terms of an agreement entered into between a defendant and a U.S. Attorney’s
Office in another district. See page 6, infra.
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                                             ARGUMENT

    I.     Applicable Law

        Under the Bail Reform Act, 18 U.S.C. §§ 3141 et seq., federal courts are empowered to
order a defendant’s detention pending trial upon a determination that the defendant is either a
danger to the community or a risk of flight. 18 U.S.C. § 3142(e) (“no condition or combination of
conditions would reasonably assure the appearance of the person as required and the safety of any
other person and the community”). A finding of risk of flight must be supported by a
preponderance of the evidence. See, e.g., United States v. Jackson, 823 F.2d 4, 5 (2d Cir. 1987);
United States v. Chimurenga, 760 F.2d 400, 405 (2d Cir. 1985). A finding of dangerousness must
be supported by clear and convincing evidence. See, e.g., United States v. Ferranti, 66 F.3d 540,
542 (2d Cir. 1995); Chimurenga, 760 F.2d at 405. In addition, a court may also order detention if
there is “a serious risk that the [defendant] will . . . attempt to obstruct justice, or . . . to threaten,
injure, or intimidate, a prospective witness or juror.” 18 U.S.C. § 3142(f)(2)(B); see also United
States v. Friedman, 837 F.2d 48 (2d Cir. 1988).

        The Bail Reform Act lists four factors to be considered in the detention analysis: (1) the
nature and circumstances of the crimes charged; (2) the weight of the evidence against the person;
(3) the history and characteristics of the defendant, including the person’s “character . . . [and]
financial resources”; and (4) the seriousness of the danger posed by the defendant’s release. See
18 U.S.C. § 3142(g). Evidentiary rules do not apply at detention hearings and the government is
entitled to present evidence by way of proffer, among other means. See 18 U.S.C. § 3142(f)(2);
see also United States v. LaFontaine, 210 F.3d 125, 130-31 (2d Cir. 2000) (government entitled
to proceed by proffer in detention hearings); Ferranti, 66 F.3d at 542 (same); United States v.
Martir, 782 F.2d 1141, 1145 (2d Cir. 1986) (same).

        Where a judicial officer concludes after a hearing that “no condition or combination of
conditions will reasonably assure the appearance of the person as required and the safety of any
other person and the community, such judicial officer shall order the detention of the person before
trial.” 18 U.S.C. § 3142(e)(1). Additionally, where, as here, a defendant is charged with
committing an offense involving a minor victim under 18 U.S.C. § 1591, it shall be presumed,
subject to rebuttal, that no condition or combination of conditions will reasonably assure the
appearance of the defendant as required and the safety of the community. 18 U.S.C.
§ 3142(e)(3)(E).

    II.    Discussion

        The defendant should be detained pending trial. For the reasons set forth below, it is
difficult to overstate the risk of flight and danger to the community if the defendant is released,
and for those reasons, the defendant cannot overcome the statutory presumption in favor of
detention in this case.
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             A. The Defendant Poses an Extreme Flight Risk

        Each of the relevant factors to be considered as to flight risk – the nature and circumstances
of the offense, the strength of the evidence, and the history and characteristics of the defendant –
counsel strongly in favor of detention.

                 1. The Nature and Circumstances of the Offense and the Strength of the Evidence

        The “nature and circumstances” of this offense plainly favor detention. 18 U.S.C.
§ 3142(g)(1) (specifically enumerating “whether the offense. . . involves a minor victim” as a
factor in bail applications). Indeed, the crime of sex trafficking of a minor is so serious that for a
defendant charged with that offense, there is a presumption that no condition or combination of
conditions will reasonably assure the appearance of the defendant as required and the safety of the
community. 18 U.S.C. § 3142 (e)(3)(E). Here, as specified in the Indictment, the defendant’s
conduct was committed serially, over a period of years, and affected dozens of victims.

         The seriousness of the charge is also reflected in the penalties the defendant faces, which
include up to 45 years of incarceration for Counts One and Two of the Indictment.3 As the Second
Circuit has noted, the possibility of a severe sentence is a significant factor in assessing the risk of
flight. See Jackson, 823 F.2d at 7; see also United States v. Cisneros, 328 F.3d 610, 618 (10th Cir.
2003) (defendant was a flight risk because her knowledge of the seriousness of the charges against her
gave her a strong incentive to abscond); United States v. Townsend, 897 F.2d 989, 995 (9th Cir. 1990)
(“Facing the much graver penalties possible under the present indictment, the defendants have an even
greater incentive to consider flight.”). Here, the defendant is facing a statutory maximum of decades
in prison. Even in the absence of means—which, as discussed in detail below, the defendant has
in abundance—this fact alone would provide a compelling incentive for anyone to fail to appear.
It is particularly compelling for a defendant who is 66 years old and therefore faces the very real
prospect of spending the rest of his life in prison if convicted.

        The likelihood of a substantial period of incarceration is buttressed by the strength of the
evidence. As set forth in the Indictment, the evidence in this case is strong. The Indictment alleges
that the defendant sexually abused dozens of minor victims, and the conspiracy count lists
numerous overt acts committed in furtherance of the defendant’s crimes.4


3
  The current penalties for violations of 18 U.S.C. § 1591 include a 10 year mandatory minimum
sentence. However, that punishment was created through an amendment to the statute in 2006.
The penalty for a violation of Section 1591 during the period charged in the Indictment, and
therefore relevant here, was a maximum of 40 years’ imprisonment.
4
  With respect to the evidence in this case, the Court should start its analysis by accepting that the
Indictment is sufficient, on its own, to establish probable cause that the defendant committed the
crimes of sex trafficking and sex trafficking conspiracy. Contreras, 776 F.2d at 54. (“Were an
evidentiary hearing addressing the existence of probable cause required in every § 3142(e) case in
which an indictment had been filed, the court would spend scarce judicial resources considering
that which a grand jury had already determined, and have less time to focus on the application of
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        Multiple victims, including several specified in the Indictment, have provided information
against the defendant. That information is detailed, credible, and corroborated, in many instances,
by other witnesses and contemporaneous documents, records and other evidence—including, as
further detailed below, evidence from a search of the New York Residence on the night of the
defendant’s arrest that reflects an extraordinary volume of photographs of nude and partially-nude
young women or girls. Such corroborating evidence also includes documents and other materials,
such as contemporaneous notes, messages recovered from the defendant’s residence that include
names and contact information for certain victims, and call records that confirm the defendant and
his agents were repeatedly in contact with various victims during the charged period. Put simply,
all of this evidence – the voluminous and credible testimony of individuals who were sexually
abused by the defendant as minors, each of whom are backed up by other evidence – will be
devastating evidence of guilt at any trial in this case and weighs heavily in favor of detention.

        Finally, it bears noting that neither the age of the conduct nor the defendant’s previous non-
prosecution agreement (“NPA”) with a different federal district pose any impediment to his
conviction. As an initial matter, all of the conduct is timely charged, pursuant to 18 U.S.C. § 3283,
which was amended in 2003 to extend the limitations period for conduct that was timely as of the
date of the amendment, to any time during the lifetime of the minor victim. See United States v.
Chief, 438 F.3d 920, 922-25 (9th Cir. 2006) (finding that because Congress extended the statute
of limitations for sex offenses involving minors during the time the previous statute was still
running, the extension was permissible); United States v. Pierre-Louis, No. 16 Cr. 541 (CM), 2018
WL 4043140, at *1 (S.D.N.Y. Aug. 9, 2018) (same).

        Moreover, with respect to the NPA, that agreement, to which the Southern District of New
York was not a party, which by its express language pertained exclusively to the SDFL
investigation, and which did not purport to bind any other Office or District, does not preclude
prosecution in this District for at least two reasons. First, it is well settled in the Second Circuit
that “a plea agreement in one U.S. Attorney’s office does not, unless otherwise stated, bind
another.” United States v. Prisco, 391 F. App’x 920, 921 (2d Cir. 2010) (“A plea agreement binds
only the office of the United States Attorney for the district in which the plea is entered unless it
affirmatively appears that the agreement contemplates a broader restriction.”) (citing United States
v. Annabi, 771 F.2d 670, 672 (2d Cir. 1985) (per curiam)). This is true even if the text of the
agreement purports to bind “the Government.” See Annabi, 771 F.2d at 672. This analysis
similarly extends to a non-prosecution agreement. See United States v. Laskow, 688 F. Supp. 851,
854 (E.D.N.Y. 1988) (“Defendant’s argument, in effect, is that unless there is an explicit statement
to the contrary, it is presumed that a non-prosecution agreement binds offices of the United States
Attorney that are not parties to the agreement. This position is at odds with the law in this Circuit,
which presumes a narrow reading of the boundaries of a plea agreement unless a defendant can
affirmatively establish that a more expansive interpretation was contemplated.”) (citing Annabi,
771 F.2d at 672). Second, the Indictment charges conduct not covered by the NPA, namely


the presumptions and the § 3142(g) factors in deciding whether the defendant should be
detained.”).
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conduct that occurred in New York. The prior NPA included a list of several dozen victims
identified in the prior investigation, all of whom were abused in the State of Florida, and none of
whom are a part of the conduct charged in Count Two of the instant Indictment.

       Each of these factors—the seriousness of the allegations, the strength of the evidence, and
the possibility of lengthy incarceration—creates an extraordinary incentive to flee. And as further
described below, the defendant has the means and money to do so.

               2. The Characteristics of the Defendant

        The history and characteristics of the defendant also strongly support detention. The
defendant is extraordinarily wealthy and has access to vast financial resources to fund any attempt
to flee. Indeed, his potential avenues of flight from justice are practically limitless.

        As the defendant acknowledged in his most recent New York State sex offender
registration, he has six residences, including two in the U.S. Virgin Islands (including his own
private island), and one each in Palm Beach, Florida; Paris, France; New York, New York; and
Stanley, New Mexico. The most recent estimated value of the defendant’s New York City mansion
alone is more than $77 million. The most recent tax-assessed value of the defendant’s Palm Beach
estate is more than $12 million. The defendant’s primary residence is a private island in the U.S.
Virgin Islands, a place where any sort of meaningful supervision would be all but impossible.

        Moreover, the defendant has access to innumerable means to flee. His sex registration
documentation of “current vehicles” lists no fewer than 15 motor vehicles, including seven
Chevrolet Suburbans, a cargo van, a Range Rover, a Mercedez-Benz sedan, a Cadillac Escalade,
and a Hummer II. These cars are registered in various states and territories including the Virgin
Islands, New York, Florida, and New Mexico. The defendant also has access to two private jets,
giving him the ability to leave the country secretly and on a moment’s notice and to go virtually
anywhere he wants to travel. He is a very frequent international traveler and regularly travels to
and from the United States by private plane. In particular, between January 1, 2018, and the
present, U.S. Customs and Border Patrol has logged approximately more than 20 flights in which
Epstein was traveling to or from a foreign country. Indeed, he was arrested at Teterboro Airport
arriving on just such a private international flight after having spent approximately three weeks
abroad. Extensive international travel of this nature further demonstrates a significant risk of
flight. See, e.g., United States v. Anderson, 384 F. Supp. 2d 32, 36 (D.D.C. 2005). There can be
no assurance that, upon release, the defendant would suddenly lack access to such means of travel.

        Finally, the defendant has no meaningful ties that would keep him in this country. The
defendant has no known immediate family. He is not married and has no children. He has friends
and associates worldwide, as demonstrated by his extensive international travel, and his
professional obligations, if any, can and seemingly are plainly capable of being handled by the
defendant remotely. Simply put, there would be no meaningful reason for the defendant to remain
in the country, while he would have every incentive (and every resource needed) to flee.

       Nor would home confinement with electronic monitoring reasonably assure the
defendant’s presence as required. At best, home confinement with electronic monitoring would
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merely reduce his head start should he decide to flee. See United States v. Zarger, No. 00 Cr. 773,
2000 WL 1134364, at *1 (E.D.N.Y. Aug. 4, 2000) (Gleeson, J.) (rejecting defendant’s application
for bail in part because home detention with electronic monitoring “at best . . . limits a fleeing
defendant’s head start”); see also United States v. Casteneda, No. 18 Cr. 047, 2018 WL 888744,
at *9 (N.D. Cal. Feb. 2018) (same); United States v. Anderson, 384 F.Supp.2d 32, 41 (D.D.C.
2005) (same); United States v. Benatar, No. 02 Cr. 099, 2002 WL 31410262, at *3 (E.D.N.Y.
Oct. 10, 2002) (same).

         Finally, there can be little doubt that the defendant is in a position to abandon millions of
dollars in cash and property securing any potential bond and still live comfortably for the rest of
his life. These resources, and the ease with which the defendant could flee and live outside the
reach of law enforcement—particularly considering his vast wealth and lack of meaningful ties to
this District—make the risk of flight exceptionally high in this case, particularly when considered
in conjunction with the strength of the government’s case and the lengthy sentence the defendant
could receive if convicted.

           B. The Defendant Poses a Risk of Danger to the Community and of Engaging in
              Obstruction of Justice

     The release of the defendant, under any conditions, would pose a significant threat to the
community and to the ongoing investigation.

        As described above, where there is probable cause to believe that an individual has
committed an offense under 18 U.S.C. § 1591, it is presumed that no condition or combination of
conditions can reasonably assure the safety of the community. 18 U.S.C. § 3142(e)(3). Here, not
only is the defendant charged with very serious sex crimes against minors, he has already
previously admitted to—and been convicted of—engaging in related conduct. Specifically, in
June 2008, the defendant pled guilty in state court to one count of procuring a person under the
age of 18 for prostitution, a felony, and he currently is a registered sex offender, under
classification level three in New York—defined as presenting a “high” risk of committing another
sex crime and harm to the community. While the conduct presently alleged does not post-date the
2008 conviction, it nevertheless underscores the risk he poses to the community if released.

        Additionally, and in connection with the investigation of the defendant’s offense in Florida,
there were credible allegations that the defendant engaged in witness tampering, harassment, or
other obstructive behaviors. In fact, according to publicly-filed court documents, there were
discussions between prosecutors and the defendant’s then-counsel about the possibility of the
defendant pleading guilty to counts relating to “obstruction,” as well as “harassment,” with
reference to 18 U.S.C. § 1512, which criminalizes “[t]ampering with a witness, victim, or
informant.” For example, in a communication from the defendant’s then-counsel to prosecutors
in SDFL, his counsel set forth a possible factual proffer that included statements that the defendant
had “attempted to harass both [redacted] delay and hinder their receipt of a [redacted] to attend an
official proceeding” and that the defendant “in particular, changed travel plans and flew with both
[redacted] to the United States Virgin Islands rather than to an airport in New Jersey in order to
attempt to delay their receipt of what Mr. Epstein expected to be a [redacted]” and “further verbally
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harassed both [redacted] in connection to this attempt to delay their voluntary receipt of process
all in violation of 18 USC 1512(d)(1).”5 Doe v. United States, 08 Civ. 80736 (S.D. Fla.), Dkts.
361 at 3-4, 361-7 through 361-11. In addition to 18 U.S.C. § 1512(d), prosecutors also proposed
that the defendant could plead guilty to 18 U.S.C. § 403, that is, a knowing or intentional violation
of the privacy protection of child victims and child witnesses, to which the defendant’s then-
counsel replied: “Already thinking about the same statutes.” Id. Dkt. 361-11. They also discussed
a possible obstruction plea that “could rely on the incident where Mr. Epstein’s private
investigators followed [redacted] father, forcing off the road.” Id. Dkt. 361-10.

       The defendant’s apparent previous willingness to obstruct a federal investigation, harass or
tamper with witnesses, and hire private investigators that “forc[ed] off the road” the father of an
individual relevant in the investigation is alarming. It should especially weigh on the Court’s
consideration here because the defendant was apparently willing to take those steps before even
being charged and thus facing federal indictment; the incentive to interfere in the Government’s
case here, where an Indictment has been returned, is exponentially greater. And as discussed
above, the defendant has nearly limitless means to do so.

        Finally, despite having been previously convicted of a sex offense involving an underage
victim, the defendant has continued to maintain a vast trove of lewd photographs of young-looking
women or girls in his Manhattan mansion. In a search of the New York Residence on the night of
his arrest, on July 6-7, 2019, pursuant to judicially-authorized warrants, law enforcement officers
discovered not only specific evidence consistent with victim recollections of the inside of the
mansion, further strengthening the evidence of the conduct charged in the Indictment, but also at
least hundreds—and perhaps thousands—of sexually suggestive photographs of fully- or partially-
nude females. While these items were only seized this weekend and are still being reviewed, some
of the nude or partially-nude photographs appear to be of underage girls, including at least one girl
who, according to her counsel, was underage at the time the relevant photographs were taken.
Additionally, some of the photographs referenced herein were discovered in a locked safe, in which
law enforcement officers also found compact discs with hand-written labels including the
following: “Young [Name] + [Name],” “Misc nudes 1,” and “Girl pics nude.” The defendant, a
registered sex offender, is not reformed, he is not chastened, he is not repentant;6 rather, he is a
continuing danger to the community and an individual who faces devastating evidence supporting
deeply serious charges.




5
    The redactions above are contained in the publicly filed version of the quoted document.
6
  See, e.g., Amber Southerland, Billionaire Jeffrey Epstein: I’m a sex offender, not a predator,
N.Y. Post (2011) (“‘I’m not a sexual predator, I’m an “offender,” the financier told The Post
yesterday. ‘It’s the difference between a murderer and a person who steals a bagel.’”); Philip
Weiss, The Fantasist, New York Magazine (2007) (“‘It’s the Icarus story, someone who flies too
close to the sun,’ I said. ‘Did Icarus like massages?’ Epstein asked.”).
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                                          CONCLUSION

        As set forth above, in this case, the risk of flight in this case is extraordinarily real. The
defendant is extremely wealthy, has extensive foreign contacts, and is charged with serious
offenses that carry a potential statutory sentence of up to 45 years’ imprisonment—even a fraction
of which could result in the defendant, who is 66 years old, spending the rest of his life in jail. In
sum, the defendant’s transient lifestyle, his lack of family or community ties, his extensive
international travel and ties outside the country, and his vast wealth, including his access to and
ownership of private planes, all provide the defendant with the motive and means to become a
successful fugitive. Further, the nature of the offenses he is alleged to have perpetrated—the abuse
dozens of underage, vulnerable girls—along with his demonstrated willingness to harass,
intimidate and otherwise tamper with victims and other potential witnesses against him, render his
dangerousness readily apparent.

        Accordingly, the Government respectfully submits that the defendant cannot and will not
be able to meet his burden of overcoming the strong presumption in favor of detention, that there
are no conditions of bail that would assure the defendant’s presence in court proceedings in this
case or protect the safety of the community, and that any application for bail should be denied.

                                                     Very truly yours,

                                                     GEOFFREY S. BERMAN
                                                     United States Attorney


                                               By:
                                                     Alex Rossmiller / Alison Moe / Maurene Comey
                                                     Assistant United States Attorney
                                                     Southern District of New York
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Cc:    Martin Weinberg, Esq., and Reid Weingarten, Esq., counsel for defendant
       Hon. Richard M. Berman, United States District Judge
